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                               UNITED STATES BANKRUPTCY COURT, SOUTHERN DISTRICT OF FLORIDA
                                                        www.flsb.uscourts.gov
                                        CHAPTER 13 MMM PLAN (Individual Adjustment of Debts)
                                               Amended Plan (Indicate 1st, 2nd, etc. amended, if applicable)
                                       2nd/MMM Modified Plan (Indicate 1st, 2nd, etc. amended, if applicable)

 DEBTOR:              Douglass M Creighton                               JOINT DEBTOR:                                           CASE NO.:       15-22333
 Last Four Digits of SS#                   xxx-xx-2552                  Last Four Digits of SS#

MONTHLY PLAN PAYMENT: Including trustee's fee of 10% and beginning 30 days from filing/conversion date, Debtor(s) to pay
to the trustee for the period of 60 months. In the event the trustee does not collect the full 10%, any portion not collected will be paid
to the creditors pro-rata under the plan:
           A.       $           1,095.12 for months             1     to        8       ;
           B.       $           2,535.26 for months             9     to        9       ;
           C.       $           1,487.24 for months           10      to       20       ;
           D.       $           1,537.56 for months            21     to        60      ; in order to pay the following creditors:
 Administrative: Attorney's Fee - $                  5,775.00       TOTAL PAID $                      3,500.00
                     Balance Due       $             2,275.00 payable $ 94.40                    /month (Months          1 to       8 )
                     Balance Due       $                         payable $ 1000.00               /month (Months          9 to       9 )
                     Balance Due       $                         payable $ 47.25                 /month (Months         10 to      20 )
             **$3,000.00- Bankruptcy; $1,500.00 - MMM; $750.00 - Motion to Value, Motion to modify $525.00

Secured Creditors: [Retain Liens pursuant to 11 USC § 1325 (a)(5)] Mortgage(s)/Liens on Real or Personal Property:
 Wells Fargo Hm Mortgage/ US
 Bank National                                           Arrearage on Petition Date $
              Po Box 10335;
              Des Moines, IA
 Address:     50306                                                  Arrears Payment $                             /month    (Months to )
 Account No: xxxxxxxx7517                                            MMM Payment $                        963.96             (Months 1 to 8 )
 Account No: xxxxxxxx7517                                              Trial Payment $                  1,304.79             (Months 9 to 60 )
IF YOU ARE A SECURED CREDITOR LISTED BELOW, THE PLAN SEEKS TO VALUE THE COLLATERAL SECURING YOUR CLAIM IN THE
AMOUNT INDICATED. A SEPARATE MOTION WILL ALSO BE SERVED ON YOU PURSUANT TO BR 7004 AND LR 3015-3.

                                                            Description of Collateral
             Secured Creditor                                and Value of Collateral    Interest Rate          Plan Payments Months of Payment    Total Plan Payments
 State Farm Fncl Svcs F
 State Farm Bank/ Attention:
 Bankruptcy; Po Box 2328;
 Bloomington, IL 61702                                          660 NE 8 Ct
 Account No:                                              Pompano Beach, FL
 xxxxxxxxxxx0001             $                                   152,160.00                 0%          $             0.00       0 To 0                             0.00

Priority Creditors: [as defined in 11 U.S.C. §507]
     -NONE-                       Total Due $
                                  Payable     $                                            /month           (Months to )        Regular Payment $

Unsecured Creditors: Pay $93.00 /month (Months 21 to 60 ).
Pro rata dividend will be calculated by the Trustee upon review of filed claims after bar date.

Other Provisions Not Included Above:
             Debtor shall provide copies of yearly income tax returns to the Trustee no later than May 15th during the pendency of
             the Chapter 13 case. In the event the Debtor’s income or tax refund increase, the Debtor shall increase payments to
             unsecured creditors over and above payments provided through the Plan up to 100% of allowed unsecured claims.


                    The debtor has filed a Verified Motion for Referral to MMM with Wells Fargo Hm Mortgage (“Lender”), loan
             number _XXXX7517_____, for real property located at _660 NE 8 Ct, Pompano Beach, FL_. The parties shall timely
             comply with all requirements of the Order of Referral to MMM and all Administrative Orders/Local Rules regarding
             MMM. While the MMM is pending and until the trial/interim payment plan or the permanent mortgage

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             modification/permanent payment is established by the parties, the debtor has included a post-petition plan payment,
             absent Court order to the contrary, of no less than the required 31% of the debtor’s gross monthly income (after
             deducting any amount paid toward HOA fees due for the property) as a good faith adequate Page 13 of 16protection
             payment to the lender. All payments shall be considered timely upon receipt by the trustee and not upon receipt by
             the lender. Until the MMM is completed and the Final Report of Mortgage Modification Mediator is filed, any objection
             to the lender’s proof of claim on the real property described above shall be held in abeyance as to the regular
             payment and mortgage arrearage stated in the proof of claim only. The debtor shall assert any and all other
             objections to the proof of claim prior to confirmation of the plan or modified plan.

                        If the debtor, co-obligor/co-borrower or other third party (if applicable) and the lender agree to a settlement
             as a result of the pending MMM, the debtor will file the MMM Local Form “Ex Parte Motion to Approve Mortgage
             Modification Agreement with Lender” (or Self-Represented Debtor’s Motion to Approve Mortgage Modification
             Agreement with Lender) no later than 14 calendar days following settlement. Once the settlement is approved by the
             Court, the debtor shall immediately amend or modify the plan to reflect the settlement and the lender shall amend its
             Proof of Claim to reflect the settlement, as applicable. If a settlement is reached after the plan is confirmed, the debtor
             will file a motion to modify the plan no later than 30 calendar days following approval of the settlement by the Court
             and the Lender shall have leave to amend its Proof of Claim to reflect the settlement reached after confirmation of the
             plan. The parties will then timely comply with any and all requirements necessary to complete the settlement. In the
             event the debtor receives any financial benefit from the lender as part of any agreement, the debtor shall immediately
             disclose the financial benefit to the Court and the trustee and amend or modify the plan accordingly.

                      If the lender and the debtor fail to reach a settlement, then no later than 14 calendar days after the mediator’s
             Final Report is filed, the debtor will amend or modify the plan to (a) conform to the lender’s Proof of Claim (if the
             lender has filed a Proof of Claim), without limiting the Debtor’s right to object to the claim or proceed with a motion to
             value; (b) provide that the real property will be “treated outside the plan”; or (c) provide that the real property will be
             surrendered. If the property is surrendered or “treated outside the plan,” the lender will be entitled to in rem stay
             relief to pursue available state court remedies against the property. Notwithstanding the foregoing, lender may file a
             motion to confirm that the automatic stay is not in effect as to the real property. Page 14 of 16

                   Confirmation of the plan will be without prejudice to the assertion of any rights the lender has to address
             payment of its Proof of Claim


I declare that the foregoing chapter 13 plan is true and correct under penalty of perjury.


 /s/ Douglass M Creighton
 Douglass M Creighton
 Debtor
 Date: April 13, 2016




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